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                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS                      SEP   -7 202t
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                                                                        bEPUr CLE
TODD RICKS,                                     Crim No. 1 :06-cr-00206-LY-1

                     Movant,                    MOTION FOR COMPASSIONATE
                                                RELEASE PURSUANT TO 18
V.                                              U.S.C. § 3582(C)(fl(A) AND THE
                                                FIRST STEP ACT OF 2018
UNITED STATES OF AMERICA,

                     Respondent.


      COMES Movant, TODD RICKS ("Ricks"), appearing pro Se, and respectfully

moves the Court under 18 U.S.C.      §   3582(c)(1 )(A)(i) to modify his sentence and

immediately release him to home confinement and a period of supervised release. The

unprecedented threat of COVID- 19 poses extraordinary risks to Ricks' health. The

virus thrives in densely packed populations, and the FCI is ill-equipped to contain the

pandemic and prevent COVID-19 from becoming a de facto death sentence for Ricks.

Ricks' diagnosed medical conditions make him especially vulnerable to the deadly

risks of COVID-19. Allowing Ricks to finish out his sentence at home is the only

prudent response to the extraordinary and compelling circumstances created by the

novel coronavirus.




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                                   I. JURISDICTION

      The district court's jurisdiction to correct or modify a defendant's sentence is

limited to those specific circumstances enumerated by Congress in 18 U.S.C. § 3582.

The scope of a proceeding under 18 U.S.C.           §   3582(c)(2) in cases like this one is

extremely limited.   Dillon   v.   United States,       130 S.Ct. 2683, 2687(2010). It is

black-letter law that a federal court generally "may not modify a term of

imprisonment once it has been imposed." Id. However, Congress has allowed an

exception to that rule "in the case of a defendant who has been sentenced to a term

of imprisonment based on a sentencing range that has subsequently been lowered by

the Sentencing Commission." 18 U.S.C.       §   3582(c)(2); see also, Freeman     v.   United

States, 131 S.Ct. 2685 (2011) (reciting standard for sentence modifications). Such

defendants are entitled to move for retroactive modification of their sentences. Dillon,

130 S.Ct. at 2690-9 1.

                          II. PROCEDURAL HISTORY

      A.     Procedural Back2round

      On September 5, 2006, a grand jury sitting in the United States District Court

for the Western District of Texas, Austin Division, returned a one (1) Count




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Indictment charging Ricks. See Doc. 1.' Count                   1   charged Ricks with Felon in

Possession of a Firearm, in violation of 18 U.S.C.              §   922(g)(1). Id.

       On January 12,2007, the government filed a Notice to Seek Enhancement of

Sentence based on Ricks' prior felony convictions. See Doe. 31.

        On September 4, 2007, a grand jury sitting in the United States District Court

for the Western District of Texas, Austin Division, returned a three (3) Count

Superseding Indictment charging Ricks. See Doc. 99. Count 1 s charged Ricks with

Felon in Possession of a Firearm and Ammunition, in violation of 18 U.S.C.                          §

922(g)(1) and 924(e). Id. Count 2s charged Ricks with Possession of a Firearm in

Furtherance of a Drug Trafficking Crime, in violation of 18 U.S.C.                   §   924(c)(1). Id.

Count 3s charged Ricks with Maintaining a Drug Involved Premises - Aiding and

Abetting, in violation of2l U.S.C.         §   856(a)(1). Id.

       On December 3, 2007, a 3-day jury trial commenced, and on December 5,

2007, the jury found Ricks guilty of all counts as charged in the Superseding

Indictment. See Doe. 138.




        "Doc." refers to the Docket Report in the United States District Court for the Western District
of Texas, Austin Division in Criminal No. 1 :06-cr-00206-LY-1,which is immediately followed by
the Docket Entry Number. "CvDoc." refers to the Docket Report in the United States District Court
for the Western District of Texas, Austin Division in Civil No. 1:19-cv-01041-LY-ML, which is
immediately followed by the Docket Entry Number."PSR" refers to the Presentence Report in this
case, which is immediately followed by the paragraph ("f') number.

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      On March 5, 2008, Ricks was sentenced to a total term of 300 months'

imprisonment, 3 years Supervised Release, no fine or restitution, and a Mandatory

Special Assessment Fee of $300. See Does. 146, 155.

      On March 6, 2008, Ricks timely filed a Notice of Appeal. See Doc. 148. On

January 29, 2009, the United States Court of Appeals for the Fifth Circuit ("Fifth

Circuit") issued an Order affirming the District Court Judgment. See Doe. 188.

      On April 1, 2009, Ricks filed a Petition for Writ of Certiorari, which the U.S.

Supreme Court denied on May 26, 2009.

      On May 24, 2010, Ricks filed a Motion under 28 U.S.C. § 2255 to Vacate, Set

Aside or Correct Sentence by a Person in Federal Custody (" 2255 Motion"). See

Doe. 196. On September 25, 2013, the Court issued an Order denying Ricks'     §   2255

Motion. See Doe. 231.

      On October 17, 2013, Ricks filed a Notice of Appeal re: denial of his   §   2255

Motion, which the Fifth Circuit dismissed on May 19, 2014. See Does. 232, 243.

      On June 29, 2016, Ricks filed his second   §   2255 Motion, but was denied on

May 1, 2017. See Does. 247, 256.

      On October 24,2019, Ricks filed a Petition for Writ of Habeas Corpus under

28 U.S.C. § 2241 ("2241 Petition"), which was dismissed on January 7, 2021. See

CvDocs. 1, 21, 22.

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      B.     Statement of the Relevant Facts

             1.    Offense Conduct

      The following information is a compilation of information received from the

investigative agents from the Drug Enforcement Administration (DEA), Bureau of

Alcohol, Tobacco, Firearms and Explosives deputies from the McCulloch County

Sheriff's Department (MCSD) and Tom Green Sheriffs Office (TGSD), Texas

Rangers, Texas Parks and Wildlife, Texas Department of Public Safety (DPS),

testimony during trial, and the Probation Office's independent investigation:

      In June 22, 2006, investigative officers received information from a
      Cooperating Individual (CI) that methamphetamine was being possessed
      and concealed by "Debbie" and "Todd" inside a private residence in
      Brady, Texas. Investigators had previously received information
      regarding the residence's involvement with methamphetamine. It was
      determined that the property had two residences and three metal barns.
      A controlled purchase of a limited amount of methamphetamine was
      made from the smaller residence. As a result of the investigation, a
      search warrant for the residence at Private Road 574, House #163, in
      Brady, was obtained.

      On June 26, 2006, members of the San Angelo Area Narcotics Office,
      Texas Rangers, Texas Parks and Wildlife, MCSD, and TGSD executed
      a search warrant at the property, specifically the smaller residence,
      which is referred to as the guest house. Upon arrival, law enforcement.
      officers located Todd Mitchell Ricks exiting one of the barns. Deborah
      Mueller ("Mueller") was observed walking on the side porch of the
      guest house. Both Ricks and Mueller were secured.

      During the search of guest house, officers found methamphetamine in
      a variety of locations, a set of digital scales, ingredients and the


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remnants for a methamphetamine cook (i.e. charcoal lighter fluid,
iodine, Pseudoephedrine, Ephedrine, and red phosphorus). Investigative
officers discovered the inactive Clandestine Laboratory in the kitchen
area of the guest house, where both Ricks and Mueller had been
residing. It has been determined that the "lab" utilized plastic milk
bottles, fimnels, Coke/soda glass bottles and mason jars. During the
search of the guest house, officers discovered the ingredients for
methamphetamine, the remnants of a methamphetamine cook and a
loaded firearm. The room which contained the loaded firearm, a Lorcin,
model L-380, .380 caliber pistol, SN 204941, was occupied by Ricks,
who was known to be a multi-convicted felon. The loaded firearm was
located in a drawer of a small table next to the left side of the bed. A
brown leather holster for the firearm was also found. Methamphetamine
was found under the bed and throughout the bedroom. In the kitchen,
under the sink, investigators found a green bottle containing a
methamphetamine liquid. Laboratory analysis determined that the 375
grams of liquid contained methamphetamine. A quantitative analysis as
to the percent of methamphetamine was not provided. At this time it is
not known if this liquid was seized prior to the completion of the "cook"
or was the waste product of the "cook." What was considered as a drug
ledger was also seized from the guest house. A total of 378.2 grams of
solutions or mixtures containing methamphetamine and 220.03 grams
of solutions or mixtures of Ephedrine/Pseudoephedrine were seized
from the guest house.

Michelle McAdams ("McAdams") and Chad Kleinmeyer
("Kleinmeyer") gave their consent for the main residence to be searched.
In this residence, a total of .47 gams of methamphetamine and a set of
digital scales were found.

Ricks, Mueller, and McAdams were arrested. Kleinmeyer was released
without incident.

Mueller was interviewed by investigative agents and admitted to
cooking methamphetamine and to being the sole methamphetamine
cook. Ricks was also interviewed wherein he attempted to deny any
knowledge of the methamphetamine being manufactured in the
       residence. However, he admitted to the use ofmethamphetamine and the
       use of methamphetamine with Mueller in the guest house. Ricks also
       admitted to knowledge ofthe weapon seized. He provided further details
       regarding the firearm and stated that the shell would hang up every time
       it shot. Ricks further admitted to firing the pistol on three or four
       different occasions. He stated that he had used it to kill a rattlesnake.

       McAdams was also interviewed and admitted that the methamphetamine
       found in the main house belonged to her and was given to her by
       Mueller several days prior. Kleinmeyer also provided a statement,
       wherein he states that "in April 2006, Mueller and Ricks would bring
       methamphetamine to the main house to Kleinmeyer and McAdams."

       The criminal investigation and trial testimony determined that Ricks and
       Mueller participated in methamphetamine "cooks" at least once a week.
       However, the amount of methamphetamine produced per cook is not
       known. It has been reported that Ricks and Mueller had been involved
       in manufacturing methamphetamine for approximately six months prior
       to Ricks' arrest and that the guest house where they lived was where the
       manufacturing occurred. The investigation also determined that Ricks
       and Mueller used two methods of manufacturing methamphetamine: red
       phosphorous and anhydrous. In a post arrest statement, Mueller advised
       that she could produce two gams of methamphetamine when she used
       five grams of Ephedrine. However, Mueller also stated she
       manufactured methamphetamine for her own personal use and did not
       distribute.

       ATF agents determined that the firearm had previously traveled in
       interstate and/or foreign commerce and was manufactured outside of the
       State of Texas.

See   PSRJ 5-14.
             2.     Trial Proceeding

       On December 3, 2007, a 3-day jury trial commenced before Judge Lee

Yeakel.Two days later, the jury found Ricks guilty of all counts as charged in the

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Superseding Indictment. See Doc. 138. The case was referred to the U.S. Probation

Office for the preparation of the PSR.

              3.       Presentence Report Recommendations

        On February 26, 2007, the Probation Office prepared Ricks' PSR (revised on

January 29, 2008), using the Guidelines Manual effective November 1, 2007. See

PSR ¶ 20. On Counts is and 3s, Ricks' Base Offense Level is 24, pursuant to USSG

§   2K2. 1(a)(2), because Ricks committed the instant offense subsequent to obtaining

at least two scoreable convictions for a crime of violence, to wit: Burglary of

Habitation. See PSR ¶ 21. On Count 2s, Ricks' Base Offense Level is 12, because the

instant offense involved less than 2.5 grams of methamphetamine, pursuant to USSG

§ 2D1.4(a)(1).     See PSRII 29. However, Ricks was subjected to an enhanced sentence

under the provisions of 18 U.S.C.      §   924(e), he was deemed to be an Armed Career

Criminal. Pursuant to USSG § 4B 1 .4(b)(3)(B), the offense level for an armed career

criminal is 33 (otherwise) as Ricks did not use or possess the firearm in connection

with either crime of violence, as defined in USSG            §   4B 1.2(a), or a controlled

substance, as defined in USSG § 4B 1.2(b). See PSR ¶ 36. Absent any enhancements

and reductions, Ricks' Total Offense Level is 33. See PSR ¶ 38. Ricks' criminal

history points totalled to 19, establishing a Criminal History Category of VI.

Moreover, pursuant to USSG       §   4B 1 .4(b)(3)(c)(2), the criminal history category for


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an Armed Career Criminal is VI. Based upon a Total Offense Level of 33 and a

Criminal History Category VI, the guideline range for imprisonment is 235 to 293

months. USSG Chapter 5, Part A. However, in Count Is, because Ricks is subject to

an enhanced sentence under the provisions of 18 U.S.C.     §   924(e), he is statutorily

exposed to a sentence of no less than 180 months (15 years) and up to Life

imprisonment. As for Count 2s, as the defendant is a career offender, the guideline

range for imprisonment is 360 months to Life, pursuant to USSG       §   4B 1.1 (c)(3). As

for Count 3s, as there is a statutory maximum of 20 years, Ricks has a guideline range

of 235 to 240 months, pursuant to USSG § 5G1.i(c)(1). See PSRf 60.

             4.    Sentencing Proceeding

      On March 5, 2008, a Sentencing Hearing was held before Judge Lee Yeakel.

See Doe. 146. The Court imposed a term of imprisonment of: 240 months'

imprisonment on each of Count is and 3s to run concurrently; and 60 months'

imprisonment on Count 2s to run consecutively to Counts is and 3s, for a total term

of 300 months' imprisonment. See Doe. 155. Followed by 3 years supervised release

on Count is, 2s, and 3s, to run concurrently. Id. The Court also ordered payment of

a Mandatory Special Assessment Fee of $300. Id. A timely Notice of Appeal was

filed on March 6, 2008. See Doc. 148.

             5.    Appellate Proceeding
         On Appeal, Ricks contended that: (1) there was insufficient evidence to show

that he possessed a firearm in furtherance of a drug trafficking crime under 18 U.S.C.

§   924(c)( 1); (2) there was insufficient evidence to prove that he "maintained" a house

for the purpose of manufacturing methamphetamine under 21 U.S.C.           §   856; and (3)

he was denied the effective assistance of counsel because his attorney failed to move

for acquittal. On January 5, 2009, the Fifth Circuit rejected these claims and affirmed

Ricks judgment and conviction. See Un ited States v. Ricks, 304 F. App'x 343 (5th Cir.

2009). On May 26, 2009, the United States Supreme Court denied Ricks' petition for

certiorari. See     United States   v.   Ricks,   129 S.Ct. 2446 (2009).

               6.       Postconviction Proceeding

        On May 24, 2010, Ricks filed a § 2255 Motion. Subsequently, on September

25, 2013, the Court issued an Order denying Ricks' § 2255 Motion. On October 17,

2013, Ricks filed a Notice of Appeal, but the Fifth Circuit dismissed Ricks' appeal

on May 19, 2014.

        After Ricks' direct appeal was fmal, the Supreme Court ruled in        Johnson   v.



United States, 135 S.        Ct. 2551(2015), that the ACCA's residual clause was

unconstitutionally vague, and that "imposing an increased sentence under the residual

clause of the Armed Career Criminal Act violates the Constitution's guarantee of due

process." Id. at 2563. On June 29, 2016, Ricks filed a § 2255 motion premised upon

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the Supreme Court's holding in Johnson, made retroactive by the Supreme Court's

holding in Welch v. United States, 1365. Ct. 1257(2016). In his motion, Ricks argues

that his sentence was improperly enhanced under the ACCA because the Texas

burglary of a habitation convictions used to support the enhancement no longer

qualify as violent felonies in light of Johnson. On August 5, 2016, the Fifth Circuit

tentatively granted Ricks permission to file a successive   §   2255 motion pending the

district court's review of whether Ricks satisfied the requirements for filing a

successive motion. See Order of August 5, 2016 [Doc. 246]. However, on May 1,

2017, the Court denied Ricks' successive    §   2255 motion. See Doc. 256.

                                  III. DISCUSSION

        As a preliminary matter, Ricks respectfully requests that this Court be mindful

thatpro se pleadings are to be construed liberally. See United States v. Kayode, 777

F.3d 719 (5th Cir. 2014) ("Pro se pleadings are held to a less stringent standard than

pleadings drafted by attorneys and will, therefore, be liberally construed."); Estelle

v.   Gamble, 429 U.S. 97, 106 (1976) (same); and Haines v. Kerner, 404 U.S. 519,520

(1972) (same).

        A.     Federal Courts Have the Jurisdiction and Power to Reduce
               An Existing Sentence

        This Court has the power to adjust Ricks' sentence. District courts no longer

need a motion from the Bureau of Prisons to resentence a federal prisoner under the
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compassionate release provisions of 18 U.S.C. §35 82(c)( 1 )(A)(i). A district court may

now resentence if the inmate files a motion after exhausting administrative remedies.

The reasons that can justify resentencing are not limited to medical, age, or family

circumstances. A district court may resentence if the inmate demonstrates

extraordinary and compelling reasons for a sentence reduction. Such reasons are

present in this case.

              1.    Historical Framework

       Congress first enacted the compassionate release provisions in 18 U.S.C.        §

3582 as part of the Comprehensive Crime Control Act of 1984. That legislation

provided that a district court could modify a final term of imprisonment when

extraordinary and compelling reasons warrant such a reduction. 18 U.S.C.

§3582(c)(1)(A)(i). In 1984, this provision was conditioned on the Bureau of Prisons

(BOP) filing a motion in the sentencing court. Absent a motion by the BOP, a

sentencing court had no jurisdiction to modify an inmate's sentence. Congress did not

define what constitutes an "extraordinary and compelling reason," but the legislative

history recognized that the statute was intended, in part, to abolish and replace federal

parole. Rather than have the parole board review for rehabilitation only, Congress

authorized review for changed circumstances:

       The Committee believes that there may be unusual cases in which an
       eventual reduction in the length of a term of imprisonment is justified by

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      changed circumstances. These would include cases of severe illness,
      cases in which other extraordinary and compelling circumstances justify
      a reduction of an unusually long sentence, and some cases in which the
      sentencing guidelines for the offense of which the defender was
      convicted have been later amended to provide a shorter term on
      imprisonment. S. Rep. No. 98-225 at 55-56 (1983).

      18 U.S.C. § 3582 acts as a "safety valve"   for the "modification of sentences"

that would previously have been addressed through the former parole system. Id. at

121. The provision was intended "to assure the availability    of specific review and

reduction of a term of imprisonment for "extraordinary and compelling reasons" and

[would allow courts] to respond to changes in the guidelines." Id. Thus, sentencing

courts have the power to modify sentences for extraordinary and compelling reasons.

                2.    Section 3582(c)(l)(A) is Not Limited To Medical, Elderly
                      or Childcare Circumstances

      Congress initially delegated the responsibility for determining what constitutes

"extraordinary and compelling reasons" to the United States Sentencing Commission.

28 U.S.C.   §   994(t) ("The Commission... shall describe what should be considered

"extraordinary and compelling reasons" for sentence reduction, including the criteria

to be applied and a list of specific examples." Congress provided one limitation to

that authority: "[r]ehabilitation of the defendant alone shall not be considered an

extraordinary and compelling reason." 28 U.S.C.      §   994(t). Rehabilitation could,

however, be considered with other reasons to justify a reduction.

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      In 2007, the Sentencing Commission defmed "extraordinary and compelling

reasons" as follows:

      (A)    Extraordinary and Compelling Reasons - Provided the defendant
             meets the requirements of subdivision (2), extraordinary and
             compelling reasons exist under any of the following
             circumstances:

             (i)     The defendant is suffering from a terminal illness.
             (ii)    The defendant is suffering from a permanent physical or
                     medical condition, or is experiencing deteriorating physical
                     or mental health because of the aging process, that
                     substantially diminishes the ability of the defendant to
                     provide self care within the environment of a correctional
                     facility and for which conventional treatment promises no
                     substantial improvement.
             (iii)   The death or incapacitation of the defendant's only family
                     member capable of caring for the defendant's minor child
                     or minor children.
             (iv)    As determined by the Director of the Bureau of Prisons,
                     there exists in the defendant's case an extraordinary and
                     compelling reason for purposes of subdivision (l)(A).
                     US SG § lB 1.13, Application Note 1.

      As we will see, with the passage of The First Step Act, subparagraph (iv) is no

longer limited by what the BOP decides is extraordinary and compelling.

      Historically, the BOP rarely filed motions under § 35 82(c)( 1 )(A), even when

the inmates met the objective criteria for modification. See U.S. Dep't of Justice

Office of the Inspector General, The Federal Bureau of Prisons Compassionate

Release Program (Apr. 2013). The Office of the Inspector General also found that the



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BOP failed to provide adequate guidance to staff on the criteria for compassionate

release, failed to set time lines for review of compassionate release requests, failed

to create formal procedures for informing prisoners about compassionate release, and

failed to generate a system for tracking compassionate release requests. Id. at i-iv.

      Congress heard those complaints and in late 2018 enacted The First Step Act.

             3.     The First Step Act

      The First Step Act, P.L. 115-391, 132 Stat. 5194, at (Dec. 21, 2018), among

other things, transformed the process for compassionate release. Id. at §603. Now,

instead of depending upon the BOP to determine an inmate's eligibility for

extraordinary and compelling reasons and the filing of a motion by the BOP, a court

can resentence "upon motion of the defendant." A defendant can file an appropriate

motion if the he or she has exhausted all administrative remedies or "the lapse of 30

days from the receipt of such a request by the warden of the defendant's facility,

whichever is earlier." 18 U.S.C.   §   3582(c)(l)(A). The purpose and effect of this

provision is to give federal courts the ability to hear and resentence a defendant even

in the absence of a BOP motion. Congress labeled this change "Increasing the Use

and Transparency of Compassionate Release." 164 Cong. Rec. H10346, H10358

(2018). Senator Cardin noted in the record that the bill "expands compassionate

release under the Second Chance Act and expedites compassionate release

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applications." 164 Cong. R. 199 at S7774 (Dec. 18, 2018). In the House,

Representative Nadler noted that the First Step Act includes "a number of very

positive changes, such as ... improving application of compassionate release, and

providing other measures to improve the welfare of federal inmates." 164 Cong. R.

H10346-04 (Dec. 20, 2018).

         Once an inmate has pursued administrative remedies through the BOP, upon

his or her motion, the sentencing court has jurisdiction and the authority to reduce a

sentence if it fmds "extraordinary and compelling reasons" to warrant a reduction.

Judicial authority is no longer limited to cases that have the approval of the BOP.

                4.    Ricks Has Exhausted Administrative Remedies

      A motion by an inmate can be filed in the district court after (1) the inmate has

made the request to the Warden, and (2) either the request was denied or 30 days have

lapsed from the receipt of the request, whichever is sooner. First Step Act of 2018,

section 803(b), Pub. L. No. 115-391, 132 Stat. 5194, 5239 (2018).

      Ricks filed a Motion for Compassionate Release to the Warden, FCI Bastrop.

Up to this date, Ricks has not received any decision yet as to his motion to reduce his

sentence. Because 30 days have passed and the BOP failed to file a motion on Ricks'

behalf, exhaustion of administrative remedies is not an issue in this case. See 18

U.S.C.   §   3582(c)(1)(A).


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      B.       Ricks' Current Conditions of Confinement and Health
               Conditions

      Ricks, age 55, suffers from incurable, progressive disease, from which Ricks

will never recover, to wit: Diabetes, Hypertension, Prostate Disease, Heart Disease,

and Chronic Kidney Disease. Ricks also suffers from elevated triglyceride level,

bilateral lower extremity edema, has history of hepatitis C, cirrhosis, history of

allergy to intravenous iodine contrast, and difficulty breathing. See Exhibit   1.


      Facts:

      Diabetes.  Diabetes is a serious condition that causes higher than normal blood
      sugar levels. Diabetes occurs when your body cannot make or effectively use
      its own insulin, a hormone made by special cells in the pancreas called islets
      (eye-lets). Insulin serves as a "key" to open your cells, to allow the sugar
      (glucose) from the food you eat to enter. Then, your body uses that glucose for
      energy.

      But with diabetes, several major things can go wrong to cause diabetes. Type
      1 and type 2 diabetes are the most common forms of the disease, but there are

      also other kinds, such as gestational diabetes, which occurs during pregnancy,
      as well as other forms.

      Hypertension.  Hypertension is another name for high blood pressure. It can
      lead to severe health complications and increase the risk of heart disease,
      stroke, and sometimes death.

      Blood pressure is the force that a person's blood exerts against the walls of
      their blood vessels. This pressure depends on the resistance of the blood
      vessels and how hard the heart has to work.

      Hypertension is a primary risk factor for cardiovascular disease, including
      stroke, heart attack, heart failure, and aneurysm. Keeping blood pressure under

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control is vital for preserving health and reducing the risk of these dangerous
conditions.

Heart Disease. Heart disease describes a range    of conditions that affect your
heart. Heart diseases include:
       Blood vessel disease, such as coronary artery disease
       Heart rhythm problems (arrhythmias)
       Heart defects you're born with (congenital heart defects)
       Heart valve disease
       Disease of the heart muscle
       Heart infection

Risk factors
Risk factors for developing heart disease include:
      Age. Growing older increases your risk of damaged and narrowed
      arteries and a weakened or thickened heart muscle.
      Sex. Men are generally at greater risk of heart disease. The risk for
      women increases after menopause.
      Family history. A family history of heart disease increases your risk of
      coronary artery disease, especially if a parent developed it at an early
      age (before age 55 for a male relative, such as your brother or father, and
      65 for a female relative, such as your mother or sister).
      Smoking. Nicotine tightens your blood vessels, and carbon monoxide
      can damage their inner lining, making them more susceptible to
      atherosclerosis. Heart attacks are more common in smokers than in
      nonsmokers.
      Poor diet. A diet that's high in fat, salt, sugar and cholesterol can
      contribute to the development of heart disease.
      High blood pressure. Uncontrolled high blood pressure can result in
      hardening and thickening ofyour arteries, narrowing the vessels through
      which blood flows.
      High blood cholesterol levels. High levels of cholesterol in your blood
      can increase the risk of plaque formation and atherosclerosis.
      Diabetes. Diabetes increases your risk of heart disease. Both conditions
      share similar risk factors, such as obesity and high blood pressure.
      Obesity. Excess weight typically worsens other heart disease risk
      factors.
      Physical inactivity. Lack of exercise also is associated with many forms
      of heart disease and some of its other risk factors as well.
      Stress. Unrelieved stress may damage your arteries and worsen other
      risk factors for heart disease.
      Poor dental health. It's important to brush and floss your teeth and gums
      often, and have regular dental checkups. If your teeth and gums aren't
      healthy, germs can enter your bloodstream and travel to your heart,
      causing endocarditis.

Complications
Complications of heart disease include:
    Heart failure. One of the most common complications of heart disease,
    heart failure occurs when your heart can't pump enough blood to meet
    your body's needs. Heart failure can result from many forms of heart
    disease, including heart defects, cardiovascular disease, valvular heart
    disease, heart infections or cardiomyopathy.
    Heart attack. A blood clot blocking the blood flow through a blood
    vessel that feeds the heart causes a heart attack, possibly damaging or
    destroying a part of the heart muscle. Atherosclerosis can cause a heart
    attack.
     Stroke. The risk factors that lead to cardiovascular disease can also lead
    to an ischemic stroke, which happens when the arteries to your brain are
    narrowed or blocked so that too little blood reaches your brain. A stroke
    is a medical emergency        brain tissue begins to die within just a few
    minutes of a stroke.
    Aneurysm. A serious complication that can occur anywhere in your
    body, an aneurysm is a bulge in the wall of your artery. If an aneurysm
    bursts, you may face life-threatening internal bleeding.
    Peripheral artery disease. When you develop peripheral artery disease,
    your extremities       usually your legs      don't receive enough blood
    flow. This causes symptoms, most notably leg pain when walking
    (claudication). Atherosclerosis also can lead to peripheral artery disease.
    Sudden cardiac arrest. Sudden cardiac arrest is the sudden, unexpected
    loss of heart function, breathing and consciousness, often caused by an
    arrhythmia. Sudden cardiac arrest is a medical emergency. If not treated
    immediately, it results in sudden cardiac death.



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Chronic Kidney Disease.      Chronic kidney disease, also called chronic kidney
failure, describes the gradual loss of kidney function. Your kidneys filter
wastes and excess fluids from your blood, which are then excreted in your
urine. When chronic kidney disease reaches an advanced stage, dangerous
levels of fluid, electrolytes and wastes can build up in your body.

Treatment for chronic kidney disease focuses on slowing the progression ofthe
kidney damage, usually by controlling the underlying cause. Chronic kidney
disease can progress to end-stage kidney failure, which is fatal without
artificial filtering (dialysis) or a kidney transplant.

Diseases and conditions that cause chronic kidney disease include:
            Type 1 or type 2 diabetes
            High blood pressure
            Glomerulonephritis, an inflammation of the kidney's
            filtering units (glomeruli)
            Interstitial nephritis, an inflammation of the kidney's
            tubules and surrounding structures
            Polycystic kidney disease
            Prolonged obstruction of the urinary tract, from conditions
            such as enlarged prostate, kidney stones and some cancers
            Vesicoureteral reflux, a condition that causes urine to back
            up into your kidneys
            Recurrent kidney infection, also called pyelonephritis

Risk factors
Factors that may increase your risk of chronic kidney disease include:
             Diabetes
             High blood pressure
             Heart and blood vessel (cardiovascular) disease
             Smoking
             Obesity
             Being African-American, Native American or
             Asian-American
             Family history of kidney disease
             Abnormal kidney structure
             Older age

                                  20
      Complications
      Chronic kidney disease can affect almost every part of your body. Potential
      complications may include:
                  Fluid retention, which could lead to swelling in your arms
                  and legs, high blood pressure, or fluid in your lungs
                   (pulmonary edema)
                   A sudden rise in potassium levels in your blood
                   (hyperkalemia), which could impair your heart's ability to
                   function and may be life-threatening
                   Heart and blood vessel (cardiovascular) disease
                   Weak bones and an increased risk of bone fractures
                   Anemia
                   Decreased sex drive, erectile dysfunction or reduced
                   fertility
                   Damage to your central nervous system, which can cause
                   difficulty concentrating, personality changes or seizures
                   Decreased immune response, which makes you more
                   vulnerable to infection
                   Pericarditis, an inflammation of the saclike membrane that
                   envelops your heart (pericardium)
                   Pregnancy complications that carry risks for the mother
                   and the developing fetus
                   Irreversible damage to your kidneys (end-stage kidney
                   disease), eventually requiring either dialysis or a kidney
                   transplant for survival

      COVID-l9 has infected hundreds of prisoners and staff in city jails, state

prisons and federal prisons.

      New York, California and Ohio were among the first to release incarcerated

people. Other states have followed, saying it is the only way to protect prisoners,

correctional workers, their families and the broader community.




                                        21
         Jails and prisons often lack basic hygiene products, have minimal health care

services and are overcrowded. Social distancing is nearly impossible except in

solitary confmement, but that poses its own dangers to mental and physical health.

         While there is absolutely no evidence to support that any person is more or less

likely to be infected [with COVID-1 9] based on existing medical conditions, Ricks'

argues that, first, prisoners experience exponentially higher rates of COVID- 19 than

the general population. As of June 2020, "[t]he COVID- 19 case rate for prisoners was

5.5   times higher than the US population case rate."2 Second, and more critically, older

individuals and individuals with chronic medical conditions are at greater risk of

hospitalization and death from COVID-19. For example, the CDC reports that

persons aged 40 to 49 are 15 times more likely to be hospitalized and 130 times more

likely to die from COVID- 19 compared to persons aged 18 to 29 and younger.3 In

other words, Ricks does not only contend that his health conditions increase his risk

of getting COVID-19; but also, he contends that those conditions greatly increase the

risk that, if contracted, his COVID- 19 infection would be severe or even deadly.




          Brendan Saloner, etal., COVID-19 Cases and Deaths in Federal and State Prisons, J. of the Am. Med. Ass'n
(July 8, 2020), https://jamanetwork.com/journals/jamalfullarticle/2768249.


         Hospitalizations & Death by Age, CTRS. FOR DISEASE CONTROL & PREVENTION,
https://www.cdc.gov/coronavirus/20 1 9-ncov/covid-.data/investigations-discovery/hospitalization-death-by-age.html (last
updated May 14, 2021).

                                                          22
      BOP Amid Covid-19

      One consequence of overcrowding is that prison officials have a difficult time

providing adequate health care.

      In 2011 the U.S. Supreme Court ruled that overcrowding undermined health

care in California's prisons, causing avoidable deaths. The justices upheld a lower

court's finding that this caused an "unconscionable degree of suffering" in violation

of the Eighth Amendment's prohibition on cruel and unusual punishment.

      Amid a worldwide pandemic, such conditions are treacherous. Some of the

worst COVID-19 outbreaks in U.S. prisons and jails are in places       like Louisiana

and Chicago     whose prison health systems have been ruled unconstitutionally

inadequate. Criminologists and advocates say many more people should be released

fromjails and prison, even some convicted of violent crimes if they have underlying

health conditions.

      The decision to release prisoners cannot be made lightly. But arguments against

it discount a reality recognized over two centuries ago: The health of prisoners and

communities are inextricably linked. Coronavirus confirms that prison walls do not,

in fact, separate the welfare of those on the inside from those on the outside.

      C.     Ricks Has "Extraordinary and Compelling Reasons" For
             Compassionate Release


                                         23
       The principles of Compassionate Release allow for Ricks' early release. As

discussed above, the principles for release are no longer limited to BOP guidelines;

federal courts have the power to determine what constitutes extraordinary and

compelling circumstances.

             1.    COVID- 19 Is a Public Health Disaster That Threatens
                   Vulnerable Incarcerated Persons like Ricks.

      The COVTD-19 pandemic continues to roil the United States. As of April 29,

2021, the BOP has 126,247 federal inmates in BOP-managed institutions and 13,636

in community-based facilities. The BOP staff complement is approximately 36,000.

There are 352 federal inmates and 815 BOP staff who have confirmed positive test

results for COVID-19 nationwide. There have been 234 federal inmate deaths and 4

BOP     staff member deaths attributed to COVID-19                    disease.    See

https://www.bop.gov/coronavirus/ (last accessed April 29, 2021). Bottom line,

Federal facilities are not immune.

      Conditions of confmement create an ideal environment for the transmission of

highly contagious diseases like COVID-19. Because inmates live in close quarters,

there is an extraordinarily high risk of accelerated transmission of COVID-1 9 within

jails and prisons. Inmates share small cells, eat together and use the same bathrooms

and sinks ..... They are not given tissues or sufficient hygiene supplies"); Joseph A.



                                          24
Bick (2007). Infection Control in Jails and Prisons. Clinical Infectious Diseases

45(8):! 047-1055, at https ://academic.oup.comlcidlarticle/45/8/ 1047/344842 (noting

that in jails "[t]he probability of transmission of potentially pathogenic organisms is

increased by crowding, delays in medical evaluation and treatment, rationed access

to soap, water, and clean laundry, [and] insufficient infection-control expertise").

BOP employees are complaining that they lack masks and gloves, hand sanitizer, and

even soap.

        "The [BOP] management plan itself acknowledges [that] symptoms of

COVID-19 can begin to appear 2-14 days after exposure, so screening people based

on observable symptoms is just a game of catch up.       .   . .   We don't know who's

infected." Manrique, 2020 WL 1307109, at * 1.10

        Indeed, as the Second Circuit recently observed, present information about the

COVID-!9 epidemic and the BOPs' prior failings in 2019 to adequately protect

detainees and allow them access to counsel and their families following a fire and

power outages suggest that the virus' impact will likely be "grave and enduring." Fed.

Defs.   ofNew York, Inc. v. Fed. Bureau ofPrisons, No. 19-1778, 2020 WL 1320886,

at *12 (2d Cir. Mar. 20, 2020).

              2.     Sanford's Vulnerability to COVID-19 Due to His High
                     Medical Risk Is an Extraordinary and Compelling Reason
                     That Warrants a Sentence Reduction.

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      Sanford is particularly vulnerable to COVID-19 because of his diabetes,

hypertension, heart disease, and chronic kidney disease. As the COVID- 19 pandemic

continues, it potentially poses a particular issue for older people and people with

pre-existing medical conditions (such as serious heart condition, lung disease, and

autoimmune disease) appear to be more vulnerable to becoming severely ill with the

COVID-19 virus.

      Lung Problems, Including Asthma
      COVID- 19 targets the lungs, so you're more likely to develop severe
      symptoms if you have preexisting lung problems, such as: Moderate to
      severe asthma, Chronic obstructive pulmonary disease (COPD), Lung
      cancer, Cystic fibrosis, Pulmonary fibrosis. In addition to being an
      asthma trigger, smoking or vaping can harm your lungs and inhibit your
      immune system, which increases the risk of serious complications with
      COVID-1 9.

      Heart Disease, Diabetes and Obesity
      People with diabetes, heart disease, high blood pressure or severe
      obesity are more likely to experience dangerous symptoms if infected
      with COVID- 19. This may be ofparticular concern in the United States,
      which has seen increasing rates of obesity and diabetes over the years.

      Obesity and diabetes both reduce the efficiency of a person's immune
      system. Diabetes increases the risk of infections in general. This risk can
      be reduced by keeping blood sugar levels controlled and continuing your
      diabetes medications and insulin. Your risk of serious illness may also
      be higher ifyou have heart diseases such as cardiomyopathy, pulmonary
      hypertension, congenital heart disease, heart failure or coronary artery
      disease.

      How SARS-COV-2 Causes Disease and Death in COVID-19
      "You'd think underlying lung problems or immune system problems
      will be the greatest risk," says Dr. Levitt. "But it seems the biggest risk

                                          26
      factors have been hypertension, diabetes and obesity." That has led
      many scientists to suspect that the profound inflammation seen in severe
      cases of COVID-19 may be yet another problem linked to
      SARS-COV-2 's fondness for ACE2. People with diabetes, hypertension
      and heart disease have more ACE2 on their cells as a response to the
      higher levels of inflammation that come with their condition; ACE2 has
      an anti-inflammatory effect. When SARS-COV-2 sticks to ACE2 and
      reduces its ability to do its job, the underlying inflammation gets worse.

      When inflammation gets completely out of control the body enters what
      is called a cytokine storm. Such storms drive the most severe outcomes
      for COVID- 19, including multi-organ failure. There is thus an obvious
      role for anti-inflammatory drugs. But knowing when to administer them
      is hard. Go too late, and the storm will be unstoppable; go too early, and
      you may dampen down an immune response that is turning the tide. A
      recent article in the Lancet suggests that it would help if COVID- 19
      patients were routinely screened for hyper-inflammation to help identify
      those who might benefit from anti-inflammatory drugs. But not
      everyone is convinced today's drugs have much to offer. "We tried [a
      range of anti-inflammatory treatment] and it actually didn't work," says
      Rajnish Jaiswal, who has been working on the front line of COVID- 19
      treatment at New York's Metropolitan Hospital.

https :Ilwww. economist. com/briefing/2020/06/06/how-sars-cov-2-causes-disease-a
nd-dc ath-in-covid- 19.

      Delta Plus Variant of COVID-19


      The latest coronavirus variant has spread to about a dozen
      countriesincluding India, the U.S., and the U.K.while scientists
      scramble to figure out if the strain is more deadly or transmissible.

      A new variant of the coronavirus has emerged, and scientists are
      working to figure out if it is more dangerous than its infamous cousin,
      the Delta variant, which has killed hundreds of thousands of people in
      India and is fast becoming the dominant variant around the world.
      The state of Maharashtra, India, which was hit hard by the devastating


                                         27
      second wave of COVID- 19, has now reimposed lockdowns due to rising
      fears about this new variant, dubbed Delta Plus (which is not an official
      designation).

      Delta Plus differs just slightly from Deltathe predominant strain in
      India and the United Kingdomwhich is more infectious and is thought
      to cause more hospitalizations than previous strains. Existing vaccines
      are effective against Delta, but only when people are fully vaccinated.

See https ://www.nationalgeographic.com!science/article/how-dangerous-is-the-new-
delta-plus- variant--heres-what-we-know.

      The dangerous Delta variant of the coronavirus is spreading so quickly
      in the United States that it's likely the mutant strain will become
      predominant in the nation within weeks, according to federal health
      officials and a new analysis.

      At a White House briefing on COVID-19 on Tuesday, Dr. Anthony
      Fauci of the National Institutes of Health said 20.6% of new cases in the
      U.S. are due to the Delta variant. And other scientists tracking the
      variant say it is on track to become the dominant virus variant in the
      U.S.

      "The Delta variant is currently the greatest threat in the U.S. to our
      attempt to eliminate COVID- 19," Fauci said. He noted that the
      proportion of infections being caused by the variant is doubling every
      two weeks.

      The variant, first identified in India, is the most contagious yet and,
      among those not yet vaccinated, may trigger serious illness in more
      people than other variants do, he said.

See https ://www.npr.org/sections/health-shots/202 1/06/22/1008859705/delta-variant
-coronavirus-unvaccinated-u-s-covid-surge.

      Due to overcrowding, lack of resources, and little access to medical care,

incarcerated people have been at high risk for contracting COVID-19. Now, as the
highly transmissible Delta variant circulates widely, they may be even more

susceptible to the virus.

        Josh Manson, a researcher at the UCLA Law COVID Behind Bars Data

Project, tells Verywell that there have been few efforts to curb the Delta variant and

COVID- 19 overall, making prisons deadly places for transmission. "When the

pandemic first hit in March 2020, prisons were not taking the situation seriously,"

Manson says. "We know that it's even more transmissible than it was the first time

a year and a half ago. We've seen thousands of people die in jails and prisons."

        So far, at least 2,718 people incarcerated in state and federal prisons, including

ICE custody, have died of COVID-l9, making prisons a lethal setting during the

pandemic.4


        According to Manson, the current death count is an underestimate. "There's

evidence emerging that the counts that have been recorded are actually

undercounted," Manson explains. "So we don't even know the true totals of how

many people died."

        For Prisoners, Vaccine Trial Participation May Do More Harm Than
        Good

        Early on, the Centers for Disease Control and Prevention (CDC) identified

        4


        UCLA Law COVID Behind Bars Data Project. National aggregate counts. Updated July 6,
2021.

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people in prison as vulnerable to COVID- 19 infection. At the height of the pandemic,

public health practitioners and civil rights organizations demanded the release of

people in prison due to overcrowding and the lack of access to medical care.5

      According to the Prison Policy Initiative, the Federal Bureau of Prisons

released over 24,000 people over the course of the pandemic, with sentences to be

served in home confinement.6

       While some prisoners were released, a portion of the releases were deathbed

releasesor the release of incarcerated individuals who are near death.
      Delta Variant Is Creating a Web of Regional COVID-19 Epidemics

       "It's basically just taking the handcuffs off while they're {incarcerated people]

on a ventilator and then saying, 'oh, you're free,' and then they die," Manson

explains.

       Deathbed releases have made it difficult to determine the number of deaths that

occurred within prisons, Manson adds. In fact, the New York Times reported this

week that dozens of these cases around the country have been excluded from official

counts.

       5


     ACLU. ACLU demands the release from prisons and jails of communities vulnerable to
COVID-19. Updated March 18, 2020.
       6


     Prison Policy Initiative. The most significant criminal justice policy changes from the
COVID-19 pandemic. Updated May 18, 2021.

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        Collecting COVID-19 Data From Prisons Remains Challenging

        Data collection within prisons has been no easy feat, according to Manson.

        Homer Venters, MD, epidemiologist, clinical associate professor at New York

University's College of Global Public Health, and former chiefmedical officer for the

New York City jail system, tells Verywell that to track and promote better health

outcomes, he believes data should be collected by the CDC and state departments of

health.

        "Some of the recommendations that I really advocated for in the Biden Harris

task force have explicitly called on the CDC and the state department's of health to

become much more involved in tracking health outcomes," Venters says.

        Study: COVID-19 Crowdfunding Campaigns Benefited Privileged
        Groups Most

        "All health data from prisons right now is really all over the place," Manson

adds.

        For example, prison systems report vaccination differently. Some prisons have

reported the number of incarcerated people who have received only the first dose,

while other systems have reported the number of staff and incarcerated people who

received both doses.




                                          31
       Vaccination Rates for StaffLags Behind

      Manson says that vaccine efforts within prisons aren't as robust as they should

be. While 446,079 incarcerated individuals (or 66%) have received at least one dose

of the COVID-19 vaccine, carceral facility staff are vaccinated at much lower rates.4

      Across all U.S. prisons, only 110,946 correctional staff (45%) have been

vaccinated in   comparison.7   Venters says that low vaccination rates among carceral

staff are a national problem.

      "You'll see that the vaccination rate for incarcerated people is higher than for

staff," Manson says. "That is not because incarcerated people have had easier access,

but because staff refusal rates have been high." Because the Delta variant is highly

transmissible, staff can serve as transmitters of the virus if they are unvaccinated.

      "When you have such an overcrowded facility, which these facilities are right

now, it only takes one case," Manson says. "So if a member is not vaccinated, they

can very easily transmit the virus."

      Experts Say More Needs to Be Done to Curb Hesitancy

      According to Venters, the most basic strategies for curbing vaccine

hesitancylike addressing peopl&s concerns about safetyare not being employed.

      7


      UCLA Law COVID Behind Bars Data Project. COVID-19 vaccines in carceral facilities.
Updated 2021.

                                           32
      Incarcerated people have declined vaccinations because their questions about

the vaccines were left unanswered, Venters says.

      "Often behind bars, the way that the vaccine is offered is through these big

mass events, there's very little attention to finding the people who have questions,

and really sitting down and talking to them," Venters adds.

      Pfizer and Moderna COVID-19 Vaccines Could Produce Years of
      Immunity

      These questions typically arise for people in prison who have complicated

health problems. "We have this paradoxical situation where some of the sickest

people who really just had a lot of normal, genuine questions about vaccinations

remain unvaccinated because of the way in which the vaccine has been offered,"

Venters stresses.

      For correctional officers, some have rejected the vaccine because they were

worried about not having enough paid time off, Venters notes.

      "Correctional settings decided they were going to give people five or 10 days

of COVID off, and that would include if they got sick from COVID, or if they had a

side effect of the vaccine," he adds. "But many correctional officers blew through that

time a year ago when they got sick."

      WI-lO Urg-esFully Vaccinated People to Wear Masks Due to Delta
      Variant Spread
        Correctional officers expressed worry to Venters that if they experienced side

effects, they wouldn't have any sick time, underscoring the fmancial concerns for

carceral staff and their families. This suggests a need for policy change within the

prison system, Venters says.

        Regardless of a vaccine mandate, curbing the Delta variant will require

engaging with carceral staff.

        Hence, it is appropriate for Ricks to be released into an environment where he

and his loved ones can control and direct his medical care. It is important for all of

us to remember that convicted criminals are sent to prison as punishmentnot for

punishment. People who are severely debilitated or are in the midst of dying are

usually no longer a threat to society, and there is not a compelling social advantage

to keeping them in prison.

Note:         According to the Centers for Disease Control and Prevention ("CDC"),
              COVID- 19 is a new disease and there is limited information regarding
              risk factors for severe disease. Based on currently available information
              and clinical expertise, older adults and people of any age who have
              serious underlying medical conditions might be at higher risk for severe
              illness from COVJD-19.

        a.    Based on what we know now, those at high-risk for severe illness from
              COVID-19 are:
                   People 60 years and older
                   People who live in a nursing home or long-term care facility

        b.    People of all ages with underlying medical conditions, particularly ifnot
              well controlled, including:

                                          34
                   Cancer
                   Chronic kidney disease
                   Chronic lung diseases, including COPD (chronic obstructive
                   pulmonary disease), asthma (moderate-to-severe), interstitial lung
                   disease, cystic fibrosis, and pulmonary hypertension
                   Dementia or other neurological conditions
                   Diabetes (type 1 or type 2)
                   Down syndrome
                   Heart conditions (such as heart failure, coronary artery disease,
                   cardiomyopathies or hypertension)
                   HIV infection
                   Immunocompromised state (weakened immune system)
                   Liver disease
                   Overweight and obesity
                   Pregnancy
                   Sickle cell disease or thalassemia
                   Smoking, current or former
                   Solid organ or blood stem cell transplant
                   Stroke or cerebrovascular disease, which affects blood flow to the
                   brain
                   Substance use disorders

are the hallmark of those who are most endangered by the instant pandemic. These

are "extraordinary and compelling reasons" for his release. See Note 1(A),    §   lB 1.13

(expressly recognizing that "other reasons" may exist for granting compassionate

release), see Note 1(D),   §   1   B 1.13 Note 1(D) (recognizing that extraordinary and

compelling reasons exists "other than, or in combination with, the reasons described

in subdivisions (A) through (C)."). Here, Ricks' high susceptibility to COVID-19

falls within the purview of this catchall. Moreover, courts have noted that while      §

lB 1.13 provides "helpful guidance" for determining what constitutes an extraordinary

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and compelling reason to warrant a sentence reduction, the inquiry does not end there.

Rather, district courts have the freedom to shape the contours of what constitutes an

extraordinary and compelling reason to warrant compassionate release. Given the

highly infectious nature of COVID- 19, the inability in a facility like BOP to practice

any of the hygienic and social distancing techniques that the Center for Disease

Control has put in place to prevent rapid transmission, and the fact that Ricks suffers

from ailments that have already been identified as "high risk," this Court should find

that Ricks' legitimate medical risk is a sufficiently extraordinary and compelling basis

for granting compassionate release.

      A recent letter by fourteen U.S. senators of both parties underscores this

position. Writing to U.S. Attorney General William Barr and BOP Director Michael

Carvajal, they stated: "[We] urge you to take necessary steps to protect [inmates in

Federal custody] particularly by using existing authorities under the First Step Act

(FSA).   . . .   We have reviewed the Federal Bureau of Prisons (BOP) COVID-19

Action Plan, which.. . notably does not include any measures to protect the most

vulnerable staff and inmates.... [I]t is important. . . that the most vulnerable inmates

are released or transferred to home confinement,     if possible." And as the Second

Circuit noted about COVID- 19 in a unanimous recent opinion, "The impact of this

recent emergency on jail and prison inmates, their counsel.      . .   ,   the United States

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Attorneys, and the BOP, including the individual Wardens and the personnel of each

facility, is just beginning to be felt. Its likely course we cannot foresee. Present

information strongly suggests, however, that it may be grave and enduring."            Fed.


Defs. of New York, Inc.,   2020   WL   1320886,   at *12.

      Finally, in the last few months, other jails and prisons have already started to

proactively release elderly and sick inmates who are at high risk of infection, as well

as releasing as many nonviolent offenders as possible in an effort to reduce the

incarcerated population and thus reduce the risk of spread. For example, on March

25, 2020,   New York City announced that it would release 300 inmates from Rikers

Island. Approximately 1,700 inmates have been released from Los Angeles County

Jails, and 1,000 inmates are to be released from New Jersey jails. Therefore, while

COVID- 19 remains an unprecedented emergency, many states (and politicians) have

recognized that they have a duty to flatten the curve inside incarcerated spaces. So,

too, should this Court.

              3.    Courts Have Granted Compassionate Release in Light of
                    the Instant Pandemic.

      Courts in the Southern and Eastern Districts of New York have granted

compassionate release based on COVID-19. See          United States   v.   Wilson Perez,   No.

17 Cr. 513 (AT) (S.D.N.Y. Apr. 1, 2020), ECF No. 98, (granting release based on



                                           37
health issues and finding court could waive exhaustion requirement; government did

not object based on defendant's medical conditions); United States v. Mark Resnick,

No. 12 Cr. 152 (CM) (S.D.N.Y. April 2, 2020), ECF No.461 (granting compassionate

release because of defendant's age and medical conditions in light of COVID- 19);

United States v. Eli Dana,No. 14Cr. 405 (JMF)(S.D.N.Y. Mar. 31,2020), ECFNo.

108 (granting compassionate release motion, where government consented, because

of defendant's age and medical conditions and the risk posed by COVID- 19); United

States   v.   Damian Campagna, No. 16 Cr. 78 (LGS), 2020 WL 1489829, at *1

(S.D.N.Y. Mar. 27, 2020) (granting compassionate release sentencing reduction to

defendant convicted of firearms offenses based on defendant's health and threat he

faced from COVID-19; government consented to reduction and agreed health issues

and COVID- 19 were basis for relief); United States v. Daniel Hernandez, No. 18 Cr.

834 (PAE) (S.D.N.Y. Apr. 1, 2020), ECF No. 446 (granting compassionate release

after BOP denied the request and converting remaining sentence to home

confinement).

         So, too, have courts across the country. See United States v. Andre Williams,

No.04 Cr. 95 (MCR) (N.D. Fla. Apr.     1,   2020) (granting release based on defendant's

health and COVID-19); United States      v.   Teresa Ann Martin, No. 18 Cr. 232 (TOR)

(E.D. Wa. Mar. 25, 2020), ECF No. 834 (waiving any further exhaustion attempts as

                                              38
futile and granting compassionate release based on defendant's health issues and

COVJD- 19 pandemic); United States v. JeremyRodriguez, No.03 Cr. 271 (AB) (E.D.

Pa. Apr. 1, 2020), ECF No. 135 (finding court has independent authority to determine

"extraordinary and compelling" reasons and granting compassionate release based in

part on defendant's health and COVID-19; no exhaustion issue because 30 days had

passed); United States    v.   Pedro Muniz, No. 09 Cr. 199 (S.D. Tex. Mar. 30, 2020),

ECF No. 578 (granting compassionate release based on health conditions that made

inmate susceptible to COVID-19); UnitedStates v. Samuel H. Powell, No.94 Cr. 316

(ESH) (D.D.C. Mar. 27, 2020), ECF No. 97 (granting compassionate release for

55-year old defendant with respiratory problems in light of outbreak, without waiting

for 30 days or other exhaustion of administrative remedies through the BOP); United

States   v.   Agustin Francisco Huneeus, No. 19 Cr. 10117 (IT) (D. Mass. Mar. 17,

2020), ECF No. 642 (granting defendant's emergency motion based on COVID- 19);

USv. Foster, No. 1: 14-cr-324-02 (M.D. Pa. Apr. 3, 2020) ("The circumstances faced

by our prison system during this highly contagious, potentially fatal global pandemic

are unprecedented. It is no stretch to call this environment 'extraordinary and

compelling,' and we well believe that, should we not reduce Defendant's sentence,

Defendant has a high likelihood of contracting COVID- 19 from which he would "not

expected to recover." USSG          §   1B1.13. No rationale is more compelling or
extraordinary."); US    v.   Powell, No.   1   :94-cr-03 16-ESH (D.D.C. Mar. 24, 2020),

Recommendation, Dkt. 94 (Court recommendation to BOP to immediately place

defendant, who is 55-years old and suffers from several respiratory problems

(including asthma and sleep apnea) into home confinement to serve the remainder of

his prison term); United States v. Watkins, Case No. 15-20333 (E.D. Mich. Jul. 16,

2020), granting compassionate release to prisoner whose oniy underlying condition

was previously-treated latent TB; and Sing/i v. Barr, No. 20-CV-02346-VKD, 2020

WL 1929366, at *10 (N.D. Cal. Apr. 20, 2020) (granting release from immigration

custody for petitioner with latent TB, hypertension, and obesity); and United States

v.   Gerard Scparta,No. 18Cr. 578 (AIN), ECF Dkt. 69(S.D.N.Y. Apr. 19, 2020). In

Scparta, Judge Nathan granted a compassionate release motion of a 55-year old

defendant who suffers from high blood pressure, high cholesterol, sleep apnea, and

hypertension. The court found that it could waive       §   3582(c)(1)(A)'s 30-day waiting

period and hear the motion, and describes USP Butner's "Kafkaesque" "14-day

quarantine" processwhich is neither a true "quarantine" nor actually limited to 14

daysbefore releasing inmates to home confinement.
              4.     Ricks' Remarkable Rehabilitation

        It is essential to also note that since Ricks' incarceration began, he has taken

numerous steps to attempt to improve himself in "post-conviction rehabilitation."

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Throughout the time he has spent in prison, Ricks has worked long and hard and

diligently at his rehabilitation. Hence, there can be no genuine safety concerns on his

release. His extraordinary rehabilitation shows that he is ready for re-entry.

      Ricks urges the Court to consider the following Redd case citations:

             United States v. Carpenter, 2: 14-CR-00309-TLN, 2020 WL
             5851129 (E.D. Cal. Sept. 30, 2020) in which the court initially
             denied the defendant's request for compassionate release but later
             granted on a motion for reconsideration after observing that cases
             within defendant's facility had increased and that the defendant
             was herself diagnosed with COVID- 19.

             United States v. Belanger, 1:1 5-CR-00072-JDL, 2020 WL
             535 1028 (D. Me. Sept. 4, 2020), which granted release for a
             defendant at risk of severe COVID after he had served
             approximately 30% of a 132-month sentence.

             United States v. Grant, 16-30021-001, 2020 WL 4036382 (C.D.
             Ill. July 17, 2020) which specifically recognized that
             osteomyelitis may pose a serious health risk despite not being
             specifically named by the CDC as a COVID-19 risk factor.

             UnitedStates v. Pabon, 458 F. Supp. 3d 296,299 (E.D. Pa. 2020)
             which granted defendant compassionate release after serving 14
             months of a 46-month sentence because "continued incarceration
             might interfere with his ability to get needed medical care" for
             hypertension, diabetes, and other medical conditions.

And

             United States   v.Crowe, 980 F.3d at 1102 n.6 (holding that
             inmate's prior exposure to tuberculosis "could be considered an
             extraordinary and compelling reason for compassionate release"
             because it "put him at risk of contracting the virus" or "serious

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             long-term health problems" if he had already contracted it).
             Courts considering the issue post-Jones have agreed. See, e.g.,
             United States v. Rucker, No. 17-207 16, 2020 WL 7240900, at *2
             (E.D. Mich. Dec. 9, 2020) (HIV and asthma) (citing Jones, 980
             F.3d at 1102 n.6); United States v. White, No. 18-20183, 2020
             WL 7240904, at *3 (E.D. Mich. Dec. 9, 2020) (BMI of 45.9)
             (citing Jones, 980 F.3d at 1102 n.6); United States v. Crowe, No.
             CR 11-20481, 2020 WL 7185648, at *3 (E.D. Mich. Dec. 7,
             2020) (latent tuberculosis, hyperlipidemia, obesity).

             Section 1 B 1.13 has not been updated to reflect pursuant to the
             2018 First Step Act, hence, defendants now have the ability to
             bring such motions directly. This anomaly has given rise to a
             debate concerning whether and to what extent § 1 B 1.13 applies
             to motions filed by defendants, with several circuits recently
             holding that § 1 B 1.13 applies only to motions filed by the Bureau
             of Prisons, and not to motions filed by defendants on their own
             behalf. See United States v. McCoy, Nos. 20-6821, 20-6869,
             20-6875, 20-6877, 2020 WL 7050097, at *6..7 (4th Cir. Dec. 2,
             2020); United States v. Jones, No. 20-3 701, 2020 WL 6817488,
             at *8...9 (6th Cir. Nov. 20, 2020); United States v. Gunn, No.
             20-1959, 2020 WL 6813995, at *2 (7th Cir. Nov. 20, 2020);
             United States v. Brooker, 976 F.3d 228, 234 (2d Cir. 2020).

      Factoring in Ricks' rehabilitation and impeccable conduct in prison, his

continued risk to the public if released appears to be markedly reduced, particularly

when tempered by significant rehabilitation. Given his personal rehabilitation, and

deeply felt remorse, the Court must conclude that deterrence and public protection are

no longer strong   §   3553(a) factors weighing in favor of continued detention.

      Under 18 U.S.C. § 3582(c)(2), to modify Ricks' sentence, taking into account

the advisory nature of the guidelines after Booker and the considerations set forth in

                                            42
18 U.S.C. § 3 553(a). The   court should find that a sentence of time served is sufficient,

but not greater than necessary, and accounts for the sentencing factors the court must

consider pursuant to 18 U.S.C.     §   3553(a), specifically deterrence, protection of the

public, and respect for the law.

      Additionally, Ricks also contends that evidence of his post-sentencing

rehabilitation warrants a reduction. More so, his BOP record does not show that he

is violent or a threat to public safety.

      Finally, the combination of factors, health conditions, COVID-19 risk, as well

as post-sentencing rehabilitation, and the changing sentencing landscape justify

granting compassionate release to Ricks. More so, his BOP record does not show that

he is violent or a threat to public safety.

      If granted compassionate release, Ricks will reside with his family where he

will be able to isolate himself and take the same precautionary measures that all

Americans are taking: frequent hand washing, sanitizing his living space, and seeking

medical care if necessary. None of these precautions are available in prison. Ricks

will receive medical care from his doctors, who are located near their home. Further

information about these release plans upon request.




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                               IV. CONCLUSION

      For the above and foregoing reasons, Ricks prays this Court would consider his

Motion for Compassionate Release/Reduction in Sentence Pursuant to 18 U.S.C.       §


3582(c)(1)(A) and the First Step Act of 2018, based upon the fact that he has

exhausted available administrative remedy and he has met the "extraordinary and

compelling reasons" requirement.

                                             Respectfully submitted,




Dated: September 3, 2021
                                             TODD RICKS
                                             REG. NO. 83035-180
                                             FCI BASTROP
                                             FEDERAL CORR. INSTITUTION
                                             P.O. BOX 1010
                                             BASTROP, TX 78602
                                             Appearing Pro Se




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                        CERTIFICATE OF SERVICE

      I hereby certify that on September     2021, a true and correct copy of the
                                             ,
above and foregoingMotion for Compassionate Release Pursuant to 18 U.S.C. §
3582(c)(1)(A) and the First Step Act of 2018 was sent via U. S. Mail, postage
prepaid, to Ashley Chapman Hoff, Assistant United States Attorney at United States
Attorney's Office, 816 Congress Ave., Suite 1000, Austin, TX 78701.




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